






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-02-00744-CV






North Carolina Mutual Life Insurance Company, Appellant


v.


Erin Whitworth, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. GN202432, HONORABLE DARLENE BYRNE, JUDGE PRESIDING





O P I N I O N




	In this restricted appeal, North Carolina Mutual Life Insurance Company appeals a $1.725
million no-answer default judgment rendered against it and in favor of Erin Whitworth.  Appellant contends
that Whitworth failed to show proper service because of discrepancies between the name and address
listed in the petition and citation and the name and address listed in the return of service.  We will reverse
the judgment and remand the cause for further proceedings.


BACKGROUND


	Whitworth had a health insurance policy under which she believed appellant would pay her
medical expenses.  She alleged that, when she suffered brain damage and injuries in an automobile accident,
appellant conditioned payment of her medical expenses on her signing a subrogation agreement that differed
materially from the policy terms by creating additional rights for appellant.  Whitworth alleged that, when
she refused to sign the subrogation agreement, appellant denied her claims based on an inapplicable
exclusion in the policy.  She asserted that this was a breach of the policy and a violation of the Deceptive
Trade Practices Act.

	Whitworth alleged in her petition that appellant's agent for service of process was Isaac
E. Henderson, 2646 South Loop West 510, Houston, Texas 77054. (1)  The return of service, which is
addressed to North Carolina Mutual Life Insurance Company, states that citation and the original petition
were served on August 19, 2002 upon North Carolina Mutual Insurance Company by personally serving
its registered agent, Isaac E. Henderson, at 2656 South Loop West #560, Houston, TX 77054.  Thus, the
address where citation was served and the party on whom it was served differ from the address and party
listed in the petition; the address on South Loop West at which citation was served is 2656 instead of
2646, the suite number served is 560 instead of 510, and the recipient listed in the return of service lacks
the word "Life" compared to the defendant in the petition and listed on the citation.  The record shows that
Henderson had moved to the new address, but there is no indication that the defendant company had
changed its name.

	The record contains exhibits regarding what Henderson did after receiving service.  He sent
a letter to appellant by certified mail dated September 26, 2002, received the return receipt, and faxed
copies of the letter and receipt to Whitworth.  In the letter to appellant, Henderson wrote:

Enclosed please find an Original Petition in the above matter which has been served upon
me as your registered agent for the State of Texas.  While I do not recall ever agreeing to
serve as your agent in the State of Texas, I am forwarding this petition to you because my
name is on file in the Secretary of State's Office for the State of Texas as your registered
agent.  Please appoint a registered agent for your company in the State of Texas at once. 
I will take steps to remove my name as your agent.


You should obtain the services of a lawyer to represent your company at once.



The return receipt indicates that Henderson sent the letter on September 27, 2002, and that the letter was
delivered on September 30, 2002.

	On October 7, 2002, Whitworth appeared in the district court and moved for default
judgment.  The court found that the return of service had been on file with the court for at least ten days,
that the deadline for appellant to file an answer was September 9, 2002, and that appellant had not filed
an answer.  Whitworth offered and the court admitted ten exhibits.  These exhibits included letters between
appellant and Whitworth regarding the subrogation agreement and appellant's denial of coverage.  Also
included were the petition, the citation and return, the faxed copy of the letter from Henderson to appellant,
the faxed certified mail return receipt from appellant, and Whitworth's medical bills.  The court reporter
did not record the hearing.

	By judgment signed October 8, 2002, the district court granted the default judgment.  The
court awarded Whitworth $125,000 in actual damages, $1,000,000 in exemplary damages, and $600,000
in attorney's fees.

	Appellant filed a motion for new trial on November 8, 2002--a day after the thirty-day
period expired.  See Tex. R. Civ. P. 329b(a).  Appellant asserts that this tardiness was due to
misinformation from the clerk's office; the motion for new trial recites that the judgment was signed on
October 11, 2002, which is three days after the court actually signed the judgment.  This motion was
untimely filed, and no extensions are possible under the rules.  See id.  Although this motion and related
documents are contained in the appellate record, we may not consider them because the motion was not
timely.

	On November 26, 2002, appellant filed a notice of restricted appeal.


DISCUSSION


	Appellant is eligible to challenge this judgment by writ of error.  See Tex. R. App. P. 30. 
Replacing writ of error practice, review by restricted appeal affords the appellant a review of the entire
case so long as the error complained of appears on the face of the record.  Id.; Conseco Fin. Servicing
v. Klein Indep. Sch. Dist., 78 S.W.3d 666, 670 (Tex. App.--Houston [14th Dist.] 2002, no pet.); see
also Norman Communications v. Texas Eastman Co., 955 S.W.2d 269, 270 (Tex. 1997).  The
reviewable record includes all papers on file before the judgment as well as the reporter's record.  See
Conseco, 78 S.W.3d at 670.

	In reviewing a default judgment on restricted appeal, we do not presume that citation was
validly issued, served, or returned.  Primate Constr., Inc. v. Silver, 884 S.W.2d 151, 152 (Tex. 1994);
TAC Ams., Inc. v. Boothe, 94 S.W.3d 315, 319 (Tex. App.--Austin 2002, no pet.).  The record must
show strict compliance with the rules of procedure governing service of citation and return of service. 
Primate, 884 S.W.2d at 152; Boothe, 94 S.W.3d at 319.  Failure to affirmatively show strict compliance
with the Rules of Civil Procedure renders the attempted service of process invalid and of no effect. 
Boothe, 94 S.W.3d at 319.  "[A] default judgment cannot withstand direct attack by a defendant who
complains that he was not served in strict compliance with applicable requirements."  Wilson v. Dunn, 800
S.W.2d 833, 836 (Tex. 1990).  The rule at issue provides in relevant part as follows:


The return of the officer or authorized person executing the citation shall be endorsed on
or attached to the same; it shall state when the citation was served and the manner of
service and be signed by the officer officially or by the authorized person.  The return of
citation by an authorized person shall be verified.



Tex. R. Civ. P. 107.  Regarding returns of service, the supreme court opined:



The return of service is not a trivial, formulaic document.  It has long been considered
prima facie evidence of the facts recited therein.  The recitations in the return of service
carry so much weight that they cannot be rebutted by the uncorroborated proof of the
moving party.  The weight given to the return is no less when the recitations impeach the
judgment than when they support it.



Primate, 884 S.W.2d at 152 (citations omitted).  Strict compliance with citation rules does not, however,
require "absolute obeisance to the minutest detail,"  See Herbert v. Greater Gulf Coast Enters., Inc.,
915 S.W.2d 866, 871 (Tex. App.--Houston [1st Dist.] 1995, no writ).

	Strict compliance requires that the name of the party listed in the return of service essentially
match the name of the party named in the citation or petition.  See Hercules Concrete Pumping Serv.,
Inc. v. Bencon Mgmt. &amp; Gen. Contracting Corp., 62 S.W.3d 308, 310-11 (Tex. App.--Houston [1st
Dist.] 2001, pet. denied).  This requirement is not new.  See Hendon v. Pugh, 46 Tex. 211, 212 (1876)
(return showing service on "J.N. Hendon" not sufficient to show service on defendant J.W. Hendon).  In
Hercules, the court of appeals reversed a default judgment because the return of citation reflected that
"Hercules Concrete Pumping" was served, when Hercules Concrete Pumping Service, Inc. was the
defendant to whom the citation was directed.  Id. at 310-11.  The court of appeals held that the return
failed to show proper service because there was no showing that the company in the return that lacked the
word "Service" in its name was the same company as the defendant whose name included the word
"Service."  Id. at 311.  The court reasoned that "[i]t is common knowledge that related corporate entities
often share a portion of the same name, but are, nonetheless, separate and distinct corporate entities."  Id. 
Not all discrepancies will negate service, however; omission of the business form (like "Inc."), insignificant
words (like "at"), or an accent mark over a letter from a company name on the service return will not
invalidate service.  See id.; see also Ortiz v. Avante Villa at Corpus Christi, Inc., 926 S.W.2d 608, 613
(Tex. App.--Corpus Christi 1996, writ denied).

	The insistence by the Hercules court that the name in the return match the name in the
citation to sustain a default judgment is consonant with holdings in similar instances by the supreme court
and this Court.  Compare Hercules, 62 S.W.3d at 311, with Uvalde Country Club v. Martin Linen
Supply Co., 690 S.W.2d 884, 884-85 (Tex. 1985), and Union Pacific Corp. v. Legg, 49 S.W.3d 72,
78 (Tex. App.--Austin 2001, no pet.).  The supreme court held  that the name of the agent for service of
process alleged in the petition must match the name of the agent for service upon whom process was served
as reflected in the return.  See Uvalde, 690 S.W.2d at 884-85.  This Court held that the name in the
citation must match the name in the petition.  Legg, 49 S.W.3d at 78.  These holdings share the underlying
precept that a default judgment should stand only if the plaintiff has strictly complied with all requirements
for service.  See Uvalde, 690 S.W.2d at 885;  Hercules, 62 S.W.3d at 309; Legg, 49 S.W.2d at 77.

	The line of cases concerning misnomer, however, holds that a default judgment can stand
when a defendant is misnamed in the petition and citation, but receives service and is not misled by the
mistakes in its name.  See Dezso v. Harwood, 926 S.W.2d 371, 374 (Tex. App.--Austin 1996, writ
denied); see also Enserch Corp. v. Parker, 794 S.W.2d 2, 4-5 (Tex. 1990).  In Dezso, a woman named
Elsie Dezso operated a business known as Judi's Cupboard, Inc., which also did business as Judi's Card
and Gift Shop, and allowed her son Danny to act as her agent in some contract negotiations.  Id. at 372-73. 
Harwood sued the business, but named as the individual defendant Judi Dezso, Danny's wife, who had
nothing to do with the transactions sued upon.  Id. at 373.  The record showed that Elsie knew that Judi
had nothing to do with the business or the transactions sued upon, knew that many customers assumed that
her name was Judi, and knew that the allegations in the petition were based on actions she, not Judi, had
taken.  Id. at 373-74.  This Court held that the default judgment stood despite the misnomer because the
record made it clear that Elsie received service and knew she was the intended defendant.  Id. at 374.  This
Court relied on the following language from an opinion by the San Antonio court:


	When an intended defendant is sued under an incorrect name, jurisdiction is proper after
service on defendant under misnomer, but it must be clear that no one was misled.  


	A misnomer of a defendant does not render a judgment based on personal service, even
one by default, void, provided the intention to sue the defendant actually served with
citation is so evident from the pleadings and process that the defendant could not have
been misled.


Id. (quoting Cockrell v. Estevez, 737 S.W.2d 138, 140 (Tex. App.--San Antonio 1987, no writ)).

	The critical distinction between these misnomer cases, in which a misnamed defendant loses
the case under the wrong name, and the service error cases, in which a defendant escapes a default
judgment because of mistakes in the service return, appears to be in the consistency of the mistake and the
demonstrated awareness by the intended defendant of the suit.  See generally P &amp; H Transp., Inc. v.
Robinson, 930 S.W.2d 857, 859-60 (Tex. App.--Houston [1st Dist.] 1996, writ denied); Avila v. Avila,
843 S.W.2d 280, 281-82 (Tex. App.--El Paso 1992, no writ).  If the defendant's name is consistently
wrong, but the record shows that the correct defendant is served and is not misled by being misnamed, then
the defendant must appear and plead the misnomer or risk having the default judgment imposed against him
withstand direct attack.  See Dezso, 926 S.W.2d at 374; Cockrell, 737 S.W.2d at 140.  Absent strict
compliance with service requirements, however, not even actual awareness of the suit by the proper
defendant confers jurisdiction.  See Robinson, 930 S.W.2d at 860. 

	This case is not a simple misnomer.  The record reveals that appellant's name was properly
alleged in the petition and on the citation, but that the citation return shows a different name.  There is no
showing in the record that the different names were not separate companies or that no confusion occurred
because of the mistake in the return.  Although Henderson's behavior is not attributable to Whitworth,
appellant's agent's one-month delay in passing along citation, simultaneous renunciation of his agent status,
and failure to consistently correctly use defendant's name further clouds the propriety of service.

	The return of service does not show that appellant was properly served because the name
of the company on the return is missing a word that is in appellant's name in the petition and the citation. 
This omission is significant because, as the court in Hercules noted, companies sometimes use slight
variations on word combinations to name distinct entities.  See Hercules, 62 S.W.3d at 311.  In her
petition, Whitworth named "North Carolina Mutual Life Insurance Company" as the defendant.  Although
the citation was addressed to that entity, the return of service recites that citation was delivered to "North
Carolina Mutual Insurance Company."  Like the return in Hercules, the return in this case omitted a word
from the defendant's name.  We conclude that the omission of the word "Life" from the insurance
company's name is significant, absent a contrary showing.

	Whitworth argues that the omission of a word from appellant's name in the return is
inconsequential because evidence shows that appellant received the citation and the petition.  She argues
that evidence shows that appellant had actual notice of the suit because Henderson, appellant's registered
service agent, forwarded the citation and petition to appellant. (2)  Whitworth contends that two faxed
communications Henderson sent her show that appellant received citation.  The first fax package included
the citation, citation return, and a cover letter from Henderson to appellant discussing the citation and
petition; in the letter Henderson stated that he did not remember agreeing to be appellant's registered agent,
and his intention to remove himself from that role.  The cover letter is addressed to appellant, but the
defendant named in the "Re:" line of the heading lacks "Mutual" in its name.  The attached copy of the
citation return, of course, lacks the word "Life."  On Henderson's second fax to Whitworth, he again omits
"Mutual" from the name of the case.  The certified mail receipt recites in one place that the package sent
to appellant was addressed to appellant (by its full name) at 411 West Chapel Hill Street in Durham, North
Carolina; in another place, the receipt states that it was sent to the same address to "North Carolina Mutual
Ins. Co."--omitting "Life" from the addressee's name.  Pat Allen, who signed for the certified mail, did not
write the name of the company on whose behalf the certified mail was received.

	Whitworth argues further that the evidence at trial, combined with the court's judgment,
constitute an amendment of the citation return and a cure of any defects, citing Higginbotham v. Gen'l
Life and Accident Ins. Co., 796 S.W.2d 695 (Tex. 1990).  In that case, the applicable law required
service during business hours; the citation return showed that it was served at 12:01 p.m., but did not state
that the business's hours included that particular time.  At the hearing, the defendant admitted receiving
service, and evidence showed that defendant's employee accepted service during regular business hours. 
See id. at 696.  The supreme court held that, by quoting the business-hour requirement and finding that
service was proper, the trial court necessarily found that the citation was served during business hours; the
supreme court held that the court's judgment implicitly amended the citation without need for either an
amended citation or a separate order.  See id. at 696-97.

	When the evidence and judgment are less specific than they were in Higginbotham,
however, a court may refuse to infer proper service.  Compare Higginbotham, 796 S.W.2d at 696-97,
with Benefit Planners L.L.P. v. RenCare, Ltd., 81 S.W.3d 855, 861 (Tex. App.--San Antonio 2002,
pet. denied).  In Benefit Planners, the return recited that the citation was delivered to "Tom P. Cusick,
Jr., Reg. Agent."  81 S.W.3d at 858.  The court held that, even though the citation was addressed to
"BENEFIT PLANNERS, L.L.P., TOM P. CUSICK, JR. (REGISTERED AGENT)," service was
defective because the return did not recite that citation was delivered to "Benefit Planners through its
registered agent."  Id. at 858-59.  The court further held that Benefit Planners did not judicially admit
proper service and waive its right to complain simply by admitting receipt of process by the registered
agent.  The court concluded as follows:


Although Cusick states that he was personally served with citation and that he is the
registered agent for process for Benefit Planners, this information already appears in the
citation and the return.  The affidavit does not cure the defect because Cusick does not
state that he was personally served with citation as registered agent for Benefit Planners. 
Although the implication can be drawn that Cusick was served in that capacity, strict
standards govern judicial admissions, Pitman v. Lightfoot, 937 S.W.2d 496, 514 (Tex.
App.--San Antonio 1996, writ denied), and we should not use an implication or inference
to create a judicial admission particularly in the default judgment context.  As previously
noted, the strict compliance requirements in the default judgment context prevent us from
making even the most obvious and rational inferences.  Verlander Enterprises, Inc. v.
Graham, 932 S.W.2d [259,] 262 [(Tex. App.--El Paso 1996, no writ)].


The statements made in the affidavits reflect actual knowledge of the pendency of the suit,
and the actions taken by Benefit Planners' representatives were consistent with that
knowledge.  However, actual notice to a defendant, without proper service, is not sufficient
to convey upon the court jurisdiction to render a default judgment.  Wilson v. Dunn, 800
S.W.2d [833,] 836-37 [(Tex. 1990)].  The actions taken have no relevance in the absence
of proper service.



Benefit Planners, 81 S.W.3d at 861.

	The record in this case does not support an implicit amendment of the citation return. 
Rather than clarifying that the correct entity actually received the citation, the faxes from Henderson muddle
the issue by adding another variant of appellant's name.  The citation return omits a word from appellant's
name, and the certified mail receipt shows that the mailing intended to rectify any confusion omits a different
word from appellant's name.  These additional documents are not themselves returns of service, nor do
they show proper service.  Even if they could be construed to show that appellant had actual notice of the
suit, they would not persuade us to affirm this default judgment.  "Actual notice to a defendant, without
proper service, is not sufficient to convey upon the court jurisdiction to render default judgment against him. 
Harrell v. Mexico Cattle Co., 11 S.W. 863, 865 (Tex. 1889)"  See Wilson, 800 S.W.2d at 836; see
also Benefit Planners, 81 S.W.3d at 861.  Jurisdiction requires proper service.  Wilson, 800 S.W.2d at
836.  We conclude that, in the context of a default judgment, the law considers the omission of a meaningful
word from appellant's name on the return of service to be more than a minute detail.  As the citation return
in Benefit Planners was deficient for failing to state that it was served on Benefit Planners through its agent,
the citation return here was deficient for omitting the word "Life" from appellant's name in the citation
return.  See id. at 859.  

	Further, the district court's statement in the judgment that appellant "was served with
citation" does not cure the omission of the word "Life" because the record does not support such an
amendment as it did in Higginbotham.  In that case, the failure of the citation return to show that citation
was served during business hours was overcome by evidence showing that citation was served during
business hours, and the defect in the return was cured by the judgment reflecting that additional evidence. 
Higginbotham, 796 S.W.2d at 696-97.  The record in this case shows that Henderson was appellant's
agent for service of process and that he was served with citation in this case, but the record aside from the
return of service (Henderson's faxes to Whitworth) adds another variant of appellant's name by omitting
"Mutual" from appellant's name, thereby raising more uncertainty about the propriety of service and
whether Henderson received service as appellant's agent.


	CONCLUSION


	We conclude that, despite indications in the record that appellant eventually received a
copy of the citation and petition, the service of citation did not strictly comply with the rules of procedure;
the default judgment, therefore, cannot stand.  See Primate, 884 S.W.2d at 152; see also Boothe, 94
S.W.3d at 319.  We need not reach appellant's other issues on appeal.

	We reverse the default judgment and remand the cause for further proceedings.



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Reversed and Remanded

Filed:   November 6, 2003

1.   Whitworth has moved this Court to supplement the record with documents showing the name
and address of appellant's agent for service of process on file with the Department of Insurance.  These
documents at issue were first filed in the district court on January 23, 2003, well after the court made the
decisions reviewed here and after the court's plenary power expired. Because these documents were not
before the trial court when it made its decisions, we cannot consider them.  See General Elec. Co. v.
Falcon Ridge Apartments, Joint Venture, 811 S.W.2d 942, 944 (Tex. 1991).  Accordingly, we overrule
the motion to supplement the record.
2.   Whitworth points to deposition testimony attached to her response to appellant's motion for new
trial to show that appellant admitted receiving citation.  We cannot consider this evidence on appeal
because the motion for new trial was untimely filed.  See Moritz v. Preiss, 46 Tex. Sup. Ct. J. 784, 786-87, 2003 Tex. LEXIS 77, *10-*13 (June 12, 2003) (not yet published).

